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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATE? OF AMERICA,

               Plaintiff.


       vs.

                                                         Criminal No.
KAREEM MAGHRABI,

               De endant.




                   i                 STIPULATION OF FACTS
                   f



        The United States and the Defendant, Kareem Maghrabi,represented by his attorney,
                   i

Saam Zangeneh,             hereby agree and stipulate that the following facts are true:

        1.     Bej^inningonoraboutMay 8,2014,and continuing until onorabout July 31,2015,
 the Defendant, Kaream      Maghrabi, knowingly participated in a wire fraud conspiracy through his
 role as an investor and an employee of a fraudulent company known as First Choice Tech Support

("First Choice"), l^ter known as Client Care Experts.
                       i
        2.     Located in Florida, First Choice was a tech support scam that defrauded thousands
                       I


 of consumers throlighout the United States.

        3.     Fir>t Choice purchased deceptive and misleading pop-up internet advertisements,
 which appeared \kithout warning on consumers' computer screens as they were browsing or
                       ]

 searching the intefnet. The pop-ups falsely informed the consumers that a serious problem had
 been detected witli their computers. Frequently,the pop-ups falsely informed the consumers that
 viruses or malwar? had been detected. The pop-ups also frequently falsely told the consumers that
 they were at risk qflosing all ofthe data and information stored on their computers.

        4.      Th^ pop-ups purchased by First Choice frequently froze the browsers of the
 computers they ajjpeared upon. As a result, consumers were unable to exit the pop-ups without
 shutting down oi) re-booting their computers. Some of the pop-ups, however, warned the
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